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UNITED STATES DISTRICT COURT

l.SOUTHERN DISTRICT OF NEW YORK

 

X
Hai Dong Li, Individually and on Behalf of All Others
Similarly Situated
Plaintif@
-against-

_, ~ Verified Comglaint
Alibaba Group Holding Ltd.; Ant Financial Service Group,

Ltd. f/k/a Zhejiang Ant and Micro iFinancial Services
Cornpany, Ltd, Jack Yun Ma, Daniel Yong Zhang and
Jungoing Sun,

Defendants.:

 

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Plaintiff, Hai Dong Li, individually and on behalf of all others similarly situated (the
“Plaintifi”) by and through the undersigned attorneys, Shot_kin & Associates Law Off`lce P.C.,

hereby file their complaint against De§fendants, Alibaba Group Holding Ltd.; Ant Financial

Service Group, Ltd. f/k/a Zhejiang Ant and Micro Financial Services Company,v Ltd, (the

“Defendants”) as follows:

§ THE PARTIES
l. Plaintiff, Hai Dong Li, is a resident §of New York County, State of New York, a consumer of
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Tmall online transaction platform, and purchased Alibaba shares but suffered damages upon

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the revelation of the alleged correcti§ve disclosures. .

2. Upon information and belief De§fendant Alibaba Group Holding Ltd. (“Aliba§)a”) is
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organized and exists under the laws of the Cayman Islands, with its principal address at 969
West Wen Yi Road, Yu Hang District, Hangzhou 311121, People's Republic of China
(“PRC”). Alibaba has a registered agent for service of process, Corporation Service
Company, at the following address: 1180 Avenue of the Americas, Suite 210, New York,
New York 10036. Defendant Alibaba’s ADS are traded on the NYSE under the ticker\
symbol “BABA.”
Upon information and belief, Defendant Ant Financial Services Group, Ltd., f/k/a Zhejiang
Ant Small Micro Finance Service Group Co., Ltd. (hereafter “Ant Group”) is organized and
exists under the laws of the PRC, with its registered address, on information and belief, at
Bldg B Huanglong Times Plaza, 18 Wantang Road, Hangzhou, 310000, China. Zhejiang Ant
Small & Micro Financial Services Group Company owns and operates an online payment
platform. The Company mainly offers mobile payment and other financial services.
Upon information and belief, Defendant Jack Yun Ma is Chairman of Defendant Alibaba and
Daniel Yong Zhang is an Executive Vice President and Jungong Sun is an Vice President of
Defendant Alibaba serving as key officers of Defendant Alibaba and maintaining offices at
Alibaba’s principal offices as listed above (hereafter “llefendant EXecutives”).
STATEMENT OF FACTS COMMON TO ALL CAUSES OF ACTION
Alibaba is a China-based online and mobile commerce company. The Company operates
several highly popular§ online marketplaces where independent third party merchants sell
products to wholesale and retail buyers around the world. Alibaba’s marketplaces include
Taobao Marketplace, the /world’s largest online shopping site, TMall, athird-party platform
for branded products, Alibaba.com an international wholesale marketplace, and Juhuasuan, a

group shopping site.

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Alibaba’s business is to provide the handamental technology infrastructure and marketing
reach to help businesses leverage the ability of the Internet to establish an online presence
and conduct commerce among consumers and businesses The Company operates e-
commerce sales platforms to facilitate trade amongthird parties and does not engage in
direct sales, compete with merchants, or hold inventory.

For a fee, Alibaba will perform various levels of verification of third party vendors’
operations in order to assure customers of their authenticity and legitimacy. Alibaba Group
also provides customers with further assurance by providing mechanisms to obtain refunds
through Alibaba, rather than the merchant, in they event that the customer is unsatisfied
Alibaba earns money by charging merchants pay-for-performance (P4P) marketing fees,
display advertising fees, commissions, and fees from memberships, as well as other “value
added services”.

Plaintiff, Hai Dong Li, run a home furnishing store called Qiaojiaju Furniture Flagship Store
with their friends on Tmall, a website for business-to-consumer online retail platform of
Defendants, from June 2014 to August 26, 2014, selling leather sofas.

After a two-month trial operation and investigation, Plaintiff found that most of the

merchants who sold sofas and beds on Trnall replaced the top layer of leathers advertised as
real leathers with artificial leathers on sofas and be ds. The artificial leathers were so similar
to the real leathers that consumers normally could not distinguish the difference. When_
Plaintiff used a ‘key word’. search for “real leather”, those artificial leather products would
be displayed on the top of the search results.

Tmall was knowingly facilitating the sale of counterfeit products by programming its search

engines to suggest the purchase of counterfeit products and by intentionally directing

 

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consumers to merchants that it knew were selling counterfeit goods.
Plaintiff’s store could not compete with those merchants selling goods with misrepresented

material composition because they sustained much higher product costs than those

merchants on Tmall. Under the impact of counterfeit goods and goods with misrepresented

material composition, Plaintiff was damaged in an amount over $700,000. Plaintiff finally
closed his store on Tmall and decided to follow Alibaba Groups lead and take a stand
against counterfeit products. b
Plaintiff and his friends, Xueling Li, Weixing Fang, Yuning Fang, Huang Hua, Cheng Wang
and Chengdong Li, used 35 different accounts to order leather furniture from merchants on
Tmall 169 times during 2014 and 2015. After they received those products in batches, they
sent samples of those products to qualified third-party institutions in China to authenticate
their materials Authentication reports actually showed that the top layer of 94% of those
products were not real leathers as they were advertised on the website. §

Plaintiff complained about those goods with misrepresented material composition and their

, sellers to Tmall Customer Service and demanded a refund and compensation

In early September 2014, Plaintiff received a phone call from Tmall Customer Service,

asking him whether he had used many different accounts to place a mass of orders. Plaintiff

' admitted it and told Customer Service that most of the_ leather sofa sellers on Tmall were

selling goods with misrepresented material composition and deceiving consumers. Plaintiff
also said that he hoped that Tmall would pay attention to this serious problem and take
necessary actions.

On the same day of that phone dall, the Defendants maliciously locked all the accounts of

. Plaintiff There were orders which made through those blocked accounts in the proceeding

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of right protection or of dispute solution. There were nine orders in the total amount of

$4,865 still awaiting delivery. Up to now, there are five order refunds in the total amount of
$2,605 still on hold.

Defendants and Defendant Executives not only failed to deal with those sellers selling goods
with misrepresented material composition, Defendants disclosed Plaintiff’s personal
information to some of those merchants who contacted Plaintiff to harass and threaten him.
Defendants on information and belief at the direction of Defendant Executives advertise
globally that Tmall makes a “Genuine Goods Guarantee” to consumers and Alibaba is the
pioneer in taking a stance against counterfeit goods and goods with misrepresented material
composition Alibaba is well-known for devoting tremendous human and financial
resources, and making appeals to the whole of society, to fight against counterfeit goods and
goods with misrepresented material composition.

Defendants and Defendant Executives made major false statement and misrepresentations
regarding the companies’ operating stabilities and financial prospects Defendants’
prospectus stated that the third parties (online merchants) utilized Alibaba and Tmall as the
platform to sell the counterfeiting However, it is not unilateral act that the third parties sold
the counterfeiting goods The third parties sell the fakes with defendants’ encouragement
and assistance, meaning § their actions for working together, mutual benefit together, and
selling fakes together. Alibaba’s sale of counterfeit products is systematic and persistent
Defendants assisted the online merchants to sell the counterfeit products which defendants
have known or shall know. Defendants used their platforms and databases to infringement of
the rights of plaintiff and other customers instead of taking necessary actions to protect the

customers

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Defendants maliciously froze plaintiffs accounts Which were related to complaining and
protecting rights, and embezzled relevant guaranty bonds Defendants refused contacting,
explaining, or replying to the plaintiff

Tmall has stated that the counterfeit material does not belong to the category of
quality assurance. The counterfeit material means the materials must completely non-
conform to the all and any materials of the product as the merchants advised. It is
completely inaccurate and misleading definition of the counterfeit material.

Tmall suggested that when the customers brought any fake goods, they should choose “the
fake brand” to apply for refunds or other customers services Defendants stated that it was
impossible that the products were counterfeit because the seller was the owner of the brand,
and the seller sold from its factory directly.

Defendants alleged that the testing reports provided by the laboratories, which were
accredited by China National Accreditation Service for Conformity Assessment and China
l\/Ietrology Accreditation did not have any legal effect.

Defendants and Defendant Executives in particular have known or should have known that
the sellers sold the fake products, but defendants still protected the sellers and assisted them
in avoiding the penalties Defendant Executives set impossibly high bars for consumer
complaints as part of a pattern of suborning deception..`

Plaintiff purchased more than ten orders but complained about the part of the orders which

` were delivered earlier. Defendants breached customers" privacy to the sellers and assisted

the sellers to intercept the shipping of counterfeit products
In China, Defendants provided extensive internal documentation to the fraudster merchants,

in China, and Defendants to protect said fraudster merchandisers alleged that Plaintiff was

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not the owner of the registered accounts and argued that Plaintiff bought the counterfeit 4
products knowing they were counterfeit and as such were not be protected by Chinese law.

Defendants used their tremendous influence to deter Chinese authorities from make

` objective determinations and Defendants ultimately helped protected fraudster merchants to

continue to sell the counterfeit products
Defendants knowingly facilitate merchants’ sales of counterfeit, fake, substandard, and
illegal products They set up unreasonable procedural hurdles for harmed consumers wishing
to file a complaint These hurdles prevented consumers from lodging their complaints and
hindered enforcement agencies’ efforts to identify violations
Plaintiff now sue Defendants herein for securities fraud in connection with .Defendants’
assistance with selling counterfeit products, and Defendants Alibaba’s initial public offering
(“IPO”) and failure to disclose these deceptive practices properly and fully thereafter..
China’s State Administration of Industry and Commerce (SAIC) is China’s powerful
regulators of businesses and economic activity. An SAIC administrative guidance meeting is
alformal non-compulsory administrative law enforcement proceeding used by the SAIC to
direct businesses to comply with laws and regulations Failure to accept and follow SAIC’s
administrative guidance typically results in severe admini§st_rative penalties

On July 16, 2014, the SAIC held an unprecedented meeting with Defendant Alibaba. At the
meeting, the SAIC specifically told Alibaba that its e-commerce platforms were guilty of a
myriad of violations of PRC laws and regulations and that it faced imminent threat of
thousands of financial penalties each worth 1% of daily sales amounts if the violations were

not stopped. The SAIC’s escalating administrative actions against Alibaba’s sale of

counterfeit, shoddy and illegal goods could reasonably be expected to have a material

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impact "on Alibaba’s operations, and in fact Alibaba believed it would have a material impact
on its operations

31. Defendants deliberately allow counterfeit goods to be sold on their sites, as it draws
revenues from advertisements linked to the sales With the SAIC crackdown on sale of
counterfeit goods, Alibaba would lose itslucrative niche as a marketplace for counterfeit
goods, and its revenues and profits would therefore decline.

32. In 2014, Alibaba completed a $25.0 billion initial public offering on the NYSE (the “IPO”).
Yet Defendant Alibaba concealed their deceptive practices and made misleading statements
in its annual reports and news which had a material effect on the revenues, incomes and
share prices

33. Plaintiff Haidong Li purchased Alibaba shares in J an 2016 but sold out in Feb 2016 and Dec
2017 because of concerns about Alibaba’s continued practices and disclosure omissions w

34. Plaintiff knows he can not possibly secure relief or justice in China where the courts and
regulatory authorities are hopelessly biased in favor of Alibaba and bring this suit herein

confident that United States courts will provide a fair and impartial hearing.

.]URISDICTION AND VENUE
35. Jurisdiction is conferred by §27 lof the Exchange Act. The claims asserted herein arise under
§§lO(b) and 20(a) of the Exchange Act and Rule 10b-5 promulgated thereunder. This Court
has jurisdiction over the subject matter of this action under 28 U.S.C. §1331 and §27 of the
Exchange Act. §

36. Venue is proper in this District pursuant to §27 of the Exchange Act and 28 U.S.C.

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§1391(b).

In connection with the acts alleged in this complaint, Defendants, directly or indirectly,
used the means and instrumentalities of interstate commerce, including, but not limited to,
the mails, interstate telephone communications and the facilities of the national securities

markets

AS AND FOR A FIRST CAUSE OF ACTION

 

For Violations of §10(b) of the Exchange Act and Rule 10b-5
Against All Defendants

Plaintiff repeats and realleges each and every allegation in the foregoing paragraphs as
though fully set forth herein.
This Count is asserted against defendants and is based upon Section lO(b) of the

Exchange Act, 15 U.S.C_.' § 78j(b), and -Rule 10b-5 promulgated thereunder by the SEC.

During the period, Defendants and Defendant Executives in particular engaged in a plan,y
scheme, conspiracy and course of conduct,_pursuant to which they knowingly or recklessly
engaged in acts, transactions practices and courses of business which operated as a fraud and
deceit upon Plaintiff; made various untrue statements of materials facts and omitted to state
material facts necessary in order to make the statements made, in light of circumstances
under which they were made, not misleading; §and employed devices, scheme and artifices to
defraud in connection with the purchase and saJle of securities Such scheme was intended to ,
and did deceive the investing public,§ includir§ig plaintiff and other shareholders as alleged
herein artificially inflate and mainta§in the market price of Alibaba securities; and cause
plaintiff and other shareholders to purchase Alibaba securities at artificially inflated prices

In furtherance of this unlawful scheme, plan an course of conduct, Defendants and each of

them, took the action set forth herein.

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Pursuant to the above plan, scheme, . conspiracy and course of conduct, each of the
Defendants participated directly or indirectly in the preparation and/or issuance of the
quarterly and annual reports, SEC filings, press releases and other statements and documents
described above, including statements made to securities analysts and the media that were
designed to influence the market for Alibaba securities Such reports, filings releases and
statements were materially false and misleading in that they failed to disclose material
adverse information and misrepresented the truth §about Alibaba’s finances and business
prospects

By§virtue of their positions at Alibaba, Defendants had actual knowledge of material false
and misleading statements and material omissions alleged herein and intended thereby to
deceive Plaintiff and the other members of the Class, or in the alternative, Defendants acted
with reckless disregard for the truth in that they failed or refused to ascertain and disclose
such facts as would reveal the materially false and misleading nature of the statements made,
although such facts were readily available to Defendants, Said acts and omissions of
Defendants were committed willfully or with reckless disregard for the truth. In addition.
Each defendant knew or recklessly disregarded that material facts were being misrepresented
or omitted as described above. §

Information showing that defendants acted knowingly or with reckless disregard or the truth
is peculiarly within defendants’ knowledge and control. c

During the period, Alibaba’s stocks Were trade on an active an efficient market. Plaintiff and
the other members of the class, relying §on the materially false and misleading statements
described herein, which the defendants made, issued or caused to be disseminated, or relying

upon the integrity of the market, purchased Alibaba securities at prices artificially inflated by

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Defendants’ wrongful conduct, Had Plaintiff and‘other shareholders known the truth, they
would not have purchased said securities or would not have purchased them at the inflated
prices that were paid. At the time of the purchases by Plaintiff and the class the true value of .
Alibaba securities was substantially lower than the prices paid by Plaintiff and the other
members of the class1 The market price of Alibaba securities declined sharply upon public
disclosure of the facts alleged herein to the injury of Plaintiff and other shareholders

By reason of the conduct alleged herein, Defendants knowingly or -recklessly, directly or
indirectly, have violated Section lO(b) of the Exchange Act and Rule 10b-5 promulgated
thereunder. §

As a direct and proximate result of defendants’ wrongful conduct, Plaintiff suffered damages
in connection with their respective purchases and sales of the Company securities upon the
disclosure that the Company hadbeen disseminating misrepresented financial statements to
the investing public. § §

This action was timely filed within two years of discovery of the misleading statements and

within five years of the dates of the purchase of the subject securities

AS AND FOR A SECOND CAUSE OF ACTION

Deceptive Acts and Practices

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Plaintiff repeat and reallege each and every allegation in the foregoing paragraphs as though
fully set forth herein. §

Defendants are an§ indispensable part of the enterprise engaged in selling the goods with
misrepresented material composition, resulting in consumer confusion and market chaos

The merchants who sell goods §)vith misrepresented material composition could not have

 

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sold their products through the Tmall but for the Defendants’| operation of online

marketplaces and other sites as well as the Defendants’ role in connecting online consumers

to online merchants selling the goods with misrepresented material composition

Defendants have provided, and continueto provide, 'marketplaces for the sales of goods With

misrepresented material composition and facilitated the financing and commercial

operations of the merchants selling goods with misrepresented material composition by

providing marketing services that directed buyers to the goods with misrepresented material

composition including offering its merchants micro loan s and Trade Assurance, processing

online payment transactions for the goods with misrepresented material composition, and

shipping the goods with misrepresented material composition to consumers

Defendants knew and should have known that they were facilitating the merchants’ sale of

goods with misrepresented material composition

De§fendants also provide substantial assistance in the form of infrastructure support and

financing to their online merchants selling goods with misrepresented material composition

a) Defendants provide essential support services that enable the sale of goods with
misrepresented material composition on their online platforms including “Web-based
and mobile interfaces to manage listings orders and customer relationships as well as
cloud computing services” for their enterprise resource planning and client relationships
management

b) l)efendants arrange shipping and delivery services that actively assisted the merchants

selling goods with misrepresented material composition to provide buyers with goods
with misrepresented material composition The Alibaba Group 48%-owned affiliate,

China Smart Logistics (Zhejiang Cainiao Supply Chain Management Co., Ltd.),

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operates a central logistics information system that works with third-party logistics and §
delivery companies Through the affiliate, the merchants selling goods with
misrepresented material composition were able to arrange for the shipping and delivery
of, inter alia, goods with misrepresented material composition

c) Defendants financed certain online merchants including, on information and belief,
merchants selling goods with misrepresented material composition by providing micro
loans to small and medium-sized enterprises (“Sl\/IE”) that sell on both their wholesale
and retail marketplaces and often have trouble accessing credit from large banks The
loans range from 7 to 360 days and are extended based on “transactional and behavioral
data from sellers” used to assess their credit-worthiness. The loans are unsecured and
merchants are required to engage in three months of activity on the Alibaba
Marketplaces in order to qualify.

d) Defendants’ provision of unsecured loans to an online merchant is based on an
understanding of the seller’s business that would indicate when a seller is engaged in the
_ sale of goods with misrepresented material composition

e) Defendant Alipay provides “substantially all” payment processing and escrow services
for transactions made through the Alibaba l\/Iarketplaces, and processed each purchase
of the goods with misrepresented material composition

54. Defendants have derived substant§ial profits from the sale of goods with misrepresented

material composition through thei§r online marketing services including their P4P service
that allows online merchants to bid for keywords that direct buyers to, inter alia, goods with
misrepresented material composition and commissions received for each sale of a good with

misrepresented material composition settled through Alipay.

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Defendants knew and should have known that they were engaged in a conspiracy to sell and
profit from the sale of goods with misrepresented material composition and knew and
should have known that in the clourse of that conspiracy, artificial leather products would be
manufactured, promoted and sold m the Alibaba l\/Iarketplaces with the assistance of escrow
services payment processing services Trade Assurance.

Defendants’ knowledge, intent, and agreement to engage in the scheme to promote and sell
goods with misrepresented material composition is also clearly demonstrated by the
aforesaid facts experienced by Plaintiff

Defendants’ acts as described above constitute deceptive acts and practices and false

advertising in violation of N.Y. Gen. Bus Law §349.

FOR A THIRD CAUSE OF§ACTION
§ v Breach of Cont§ract

Plaintiff repeatsand realleges each and every allegation in the foregoing paragraphs as
though fully set forth therein \ § §

Defendants alleged rhat Plaintiff was not .consumer, which breached the Trnall service
agreement, because when Plaintiff placed§orders on Tmall, Plaintiff and Tmall agreed to be
bound by the Tmall service agreement §§ j v

The Genuine Goods Guarantee Service Specifications of Tmall pledged that when shopping

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at the Tmall platform, where goods purchased by Buyers are legally determined to be

counterfeit goods orunregrstered imported goods or goods with misrepresented material

composition the Buy§er has the right to raise a complaint against the Merchant and apply for

"‘Genuine Goods Guarantee” compensation The compensation amount will be limited to

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“refund one (l) and compensate four (4)§ + deliverycosts borne by the Buyer” calculated in
accordance with the actual price of the goods paid by the Buyer.

The Tmall Service Terms provided that misrepresentation of material composition refers to
the situation Where a Merchant’s descriptions of all materials or composition of a good is
entirely inconsistent With the good received by the Buyer. A Merchant that misrepresents
material composition for the first time will receive a deduction of six (6) points A Merchant
belonging to a special category that misrepresents material composition Will receive a
deduction of twelve (12) points regardless of whether such misrepresentation was made for
the first time. In the case of misrepresentation of material composition Tmall Global will
delete the good with misrepresented material composition posted by the Member.
Defendants breached the aforesaid service agreements with Plaintiff by locking his
purchasing accounts while proceeding with transactions involved in dispute resolution
which prevented Plaintiff from receiving the purchased goods and resolving disputes
through consumer’s remedies §

In addition Defendants breached the confidential covenants in service agreements by
providing Plaintiff’s personal information to certain merchants some of whom harassed and
threatened Plaintiff`.

As a result of foregoing, Plaintiff suffers from mental anguish and sustained extensive

financial damage.

FOR A FOURTH CAUSE OF ACTION
False Advertising

Plaintiff repeats and realleges each and every allegation in the foregoing paragraphs as

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though fully set forth herein

Defendants advertised since 2012 that if any online merchants on Tmall sold counterfeit
goods or goods with misrepresented material composition they would be removed froml
Tmall and would never be allowed to return and the consumers who unwittingly bought
counterfeit goods or goods with misrepresented material composition would be paid back
with 5 times the amount of money they had paid for the counterfeit goods or goods with
misrepresented material composition §

Upon information and belief, “Genuine Goods Guarantee” is the most crucial promotion
po§int of Tmall online market. Defendants declares that all the goods on Tmall are
guaranteed to be genuine, which materially deceives consumers to believe that all goods
sold by merchants on Tmall are genuine goods Defendants further deceive the consumers
by claiming that even if they purchase counterfeit goods or goods With misrepresented
material composition they would be paid back with five times the amount of the actual price
they have paid, when they, in fact, take retaliatory actions against consumers who report
such a problem.

Defendants provide protection for unqualified merchants selling counterfeit goods or goods

with misrepresented material composition prevent consumers from dispute solutions and

even knowingly support and conspire with those unqualified merchants to sell and profit

from co§unterfeit goods or goods with misrepresented material composition

Defendants advertised that Alibaba Groups adopted a zero-tolerance policy toward
counterfeit goods sold on their platforms to protect consumers
ln addition Defendants advertised that they use big data analystics to trace counterfeit goods

or goods with misrepresented material cor§nposition and assist authorities to resolve
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counterfeiting problems

Defendants also advertised that they closed more than 240,000 online merchants who sold
counterfeit goods or goods with misrepresented material composition on Alibaba’s
transaction platforms Actually, nevertheless those merchants were terminated by
themselves because of poor operations

Based on the aforesaid Defendants violated N.Y. Gen. Bus. Law§350.

FoR A FIFTH CAUsEoF ACTION
n Unjust Enrichment

Plaintiff repeats and realleges each and every allegation in the foregoing paragraphs as
though fully set forth therein
Defendant Alipay is an escrow-based online payment platform, is the preferred payment
solution for transactions on Tmall. It is the most widely used third-party online payment
solution in China. To ensure safe transactions l)efendant Alipay uses an escrow system
through which payment is only released to the seller once the buyer has received his or her
goods in satisfactory condition
As consumers Plaintiff paid purchasing prices to Defendant Alipay, using its escrow system
to ensure safe transactions However, Defendants blocked Plaintiff’s accounts and withheld
Plaintiff’s payments so Plaintiff has not received his purchases
As of now, Defendants still have EPlaintiff’s accounts blocked, and have neither refunded
Plaintiff ‘s payments nor delivered t§he goods
The elements of a cause of action §_to recover for unjust em'ichment are “(1) the defendant

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was enriched, (2) at the plaintiffs expense, and 3(3) that it is against equity and good

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conscience to permit the defendant to retain what lis sought to be recovered” Mobarak v.
Mowad, 117 A.D.3d 998, 1001, 986 N.Y.S.2d 539. §

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lt is against equity and good conscience to permit the Defendants to retain the money in

Plaintiff s blocked account.

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FOR A SIXTH CAUSE OF ACTION

Bad Faith and Unfair Dealing
Plaintiff repeats and realleges each and every allegation in the foregoing paragraphs as
though fully set forth therein l
As mentioned above, Plaintiff used Defendant’s escrow service to system to ensure safe
transactions but Defendants _maliciously blocked Plaintiff’s accounts and withheld
Plaintiff s payments
Defendants used technological means to force Plaintiff terminate his pending transactions
without any compensation §
As consumers Plaintiff neither enjoyed fair transactions nor enjoyed qualified customer
services in the transactions..

Defendants unfairly dealt with Plaintiff and breached the duty of good faith and fair dealing.

FOR A SEV§ENTH CAUSE OF ACTION
Failure to F§ulfill the Duty of Supervision
Plaintiff repeats and realleges each and every allegation in the foregoing paragraphs as

though fully set forth therein

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Plaintiff reported the merchants who Sold goods with misrepresented material composition
to Tmall Customer Service, but Tmall blocked Plaintiff s accounts and did nothing to punish
those merchants who so§ld goods with misrepresented material composition
As the owner of a third-party online transaction platform, Defendant Alibaba Groups has a
duty to supervise the merchants on Alibaba transaction platforms §
However, Defendants as mentioned above, knowingly assist merchants on its platform
Tmall to sell counterfeit goods or goods with misrepresented material composition

Defendants fail to fulfill the duty of supervision

FOR A EIGHTH CAUSE OF ACTION
Invasion of Privacy
Plaintiff repeats and realleges each and every allegation in the foregoing paragraphs as
though fully set forth therein §
Defendants disclosed Plaintiff s personal information to some merchants who sold goods
with misrepresented material composition resulting in serious harassment and threats to

Plaintiff. §

Defendants further§providedPlaintiff personal information to merchants who sold goods
with misrepresente§d material composition when those merchants were engaged in civil
actions against Plaintiff in Ch.§ina.

Based en the aforesaid Defendants violated N.Y. Pub§. off. Law§96.

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WHEREFORE, Plaintiff respectfully requests that this Cdurt; §

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Immediately and permanently enjoin the D]efendants their officers directors

 

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agents representatives successors or assigns and all persons acting in concert or in participation
with any of them from:
a) manufacturing, distributing, delivering, shipping, importing, exporting, advertising,
§ marketing, promoting, selling,l or§ otherwise offering for sale goods with misrepresented
material composition; §
b) processing credit card transactions or otherwise facilitating the sales of goods with
§ misrepresented material composition
c) secreting, destroying, altering, removing, or otherwise dealing With the unauthorized
products or any books or records which contain any information relating to the
importing,` manufacturing, producing, distributing, circulating, selling, marketing,
offering for sale, advertising, promoting, renting, or displaying of all counterfeit goods
or goods with misrepresented material composition §
2. Award Plaintiff compensation for his financial and mental damages arising out of the
causes of actions described above in a total amount of 10 billion dollars
3. Award Plaintiff reasonable attorneys’ fees along with the costs and disbursements
incurred herein as a result of Defendants’ intentional and~willful deceptive actions and breaches

of contract.

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Dated:i"{`“.(\ m/d/) OZ'/ 70 /:§7

§ New'§York, New York '
Respectfully submitted,
Shotkin & Associates Law Office P.C

D»€M,M

By: IFredeirck Shotkin Esq
Attorneysfor Plaintiff

45 w 34th street suite 603

' New York, NY 10001
Tel: (212) 268-8668 §

 

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CERTIFICATION

STATE OF NEW YORK)
) ss:
COUNTY OF NEW YORK )

I, Haidong Li, being duly sworn deposes and says:

That I am Plaintiff, in the above-entitled action; l have read the foregoing Verified Complaint
and know the contents thereof; that the same is true to my knowledge except as to the matter
stated to be alleged upon information and belief, and\that as to those matters l believe them to be

true.

77 95 ’,~;;: _10/7/2%7

Haidong Li

Swor_n to before me on

XlAO MENG
Notary Public. State of New Yo_rk
' Qua|me in eEw o o n
Notary Publlc ` Commisslon- Expires May 26, 2 19

